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               EXHIBIT B
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 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10
       IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR-PHK
11     ADDICTION/PERSONAL INJURY
       PRODUCTS LIABILITY LITIGATION                     MDL No. 3047
12

13                                                       JOINT STATEMENT REGARDING
       This Document Relates to:                         BELLWETHER TRIAL PROTOCOL AND
14                                                       PROPOSED TRIAL SCHEDULES
       ALL ACTIONS
15

16

17           The Parties submit this Joint Statement regarding the bellwether trial protocol in this
18    MDL. The Parties’ proposed bellwether case management schedules are attached hereto as
19    Exhibit A (Plaintiffs’ proposed schedule) and Exhibit B (Defendants’ proposed schedule).
20               All Plaintiffs’ Position:
21           In accordance with the Court’s instructions at the Case Management Conference on
22    January 26, 2024 and the subsequent Case Management Order No. 8 (ECF No. 581), all Plaintiffs
23    believe it is in the interest of the Parties to move forward on negotiating a bellwether protocol as
24    quickly possible, together with a commensurate trial schedule. To that end, all Plaintiffs prepared
25    positions on a proposed trial schedule and PI/SD Plaintiffs prepared a positions on a bellwether
26    selection process. Because the State Plaintiffs maintain that their case, when heard, should be
27    considered as one cohesive whole, rather than disaggregated, the State Plaintiffs have not
28    proposed a bellwether selection process for their case. All Plaintiffs have worked in good faith
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 1    with Defendants in both a formal meet and confer setting and through multiple informal

 2    conversations amongst the parties to facilitate compromise and agreement where possible

 3    throughout the week since the Court ordered the Parties submit a Joint Statement on a Bellwether

 4    Protocol, in advance of the deadline for this submission. During the meet and confer between the

 5    parties on January 30th, only one day after the Court entered its Order instructing the parties to

 6    discuss bellwether procedures, PI/SD Plaintiffs walked through their proposed bellwether plan

 7    and answered Defendants’ questions about it. Defendants did not share any positions with PI/SD

 8    Plaintiffs at the time. All Plaintiffs have been forthright with Defendants regarding the Plaintiffs’

 9    understanding of the Court’s guidance and regarding all Plaintiffs’ positions, as reflected below.

10    All Plaintiffs look forward to receiving further guidance from the Court and will continue to meet

11    and confer with Defendants as appropriate.

12               Defendants’ Position:

13           On January 29, 2024, the Court ordered the Parties to submit by the date of this Joint

14    Statement only “proposed trial schedules,” with a separate instruction to “begin discussing the

15    selection process for bellwether trials, and to the extent feasible, include selection process

16    proposals in their filings.” Case Management Order No. 8, ECF No. 581, at 3 & n.2. The MDL

17    Parties began those discussions only three days before their proposed trial schedules were due,

18    and Plaintiffs shared their detailed proposed Bellwether Order with Defendants only one day

19    before the date of this filing. While Defendants are prepared to submit their proposals on certain

20    aspects of bellwether selection—including the number of cases that should be included in

21    Bellwether Discovery and Trial Pools and ultimately selected for bellwether trials—it is not

22    feasible, and the Court did not order the Parties, to negotiate and submit a detailed proposed

23    Bellwether Protocol by the date of this submission. Nevertheless, Defendants have attempted, in

24    the limited time they have had to consider Plaintiffs’ proposals, to set forth below their tentative

25    positions on each of those proposals, but submit that it would be premature to resolve differences

26    in the Parties’ positions at this time. Defendants ask that the Court instead order the Parties to

27    conduct further conferrals on a Bellwether Order and report back to the Court at a later time with

28    a joint or competing proposed order(s).
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 1    I.     Purpose

 2           The purpose of a “bellwether” case is to enhance and accelerate the MDL process by

 3    providing the Parties and Court with outcomes that strive to be “representative” of the

 4    overarching issues within the overall MDL and that aid the development of the parties’ disputes.

 5    Thus, bellwether cases are those that can illustrate and inform the parties and the Court of

 6    important issues in the litigation. Bellwether trials also provide the parties with an opportunity to

 7    develop litigation frameworks that can be used in cases remanded to the originating courts.

 8           The Parties shall participate in the bellwether process in good faith and in accordance with

 9    these principles.

10    II.    Bellwether Selection

11           Eligibility for Bellwether Selection Pools:

12               PI Plaintiffs’ Proposal:

13           Any Personal Injury Plaintiff who 1) has named Meta as a Defendant; 2) alleges

14    addiction; 3) alleges a) an eating disorder (anorexia, bulimia, or binge eating disorder), and/or b)

15    self-harm (self-harm, suicide attempt(s) or suicide); and 4) whose case was filed in or transferred

16    to this Court and who has submitted a Plaintiff Fact Sheet (PFS) by the deadline for already-filed

17    cases under the Personal Injury PFS Implementation Order (approximately May 13, 20241) will

18    be included in the Personal Injury Plaintiff Bellwether Selection Pool.

19               PI/SD Plaintiffs’ and Defendants’ Proposal Regarding SD Plaintiffs:

20           Any School District Plaintiff, excluding those alleging RICO claims, whose case was filed

21    in or transferred to this Court and who has submitted a School District Plaintiff Fact Sheet by the

22    deadline for already-filed cases under the Personal Injury PFS Implementation Order

23    (approximately May 13, 2024) will be included in the School District Plaintiff Bellwether

24    Selection Pool.

25

26    1
        Pursuant to the Proposed PFS Implementation Order (ECF No. 551-1), Personal Injury Plaintiff
27    PFSs shall be served within 105 days from entry of the Implementation Order. The Parties note
      that in CMO 8, the Court Granted the Proposed Implementation Order but the Order’s entry is not
28    yet reflected on the Docket, so the dates noted here in are approximate
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 1               Defendants’ Proposal Regarding PI Plaintiffs:

 2           By __________ [date to be set by the Court], the Parties shall submit proposals for

 3    eligibility criteria for Personal Injury Bellwether Selection Pools.

 4           Selection of Bellwether Discovery Pools:

 5               PI/SD Plaintiffs’ Proposal:

 6           Sixty (60) days after the deadline for already-filed cases under the Personal Injury PFS

 7    Implementation Order, or approximately July 12, 2024, a total of 24 Personal Injury Plaintiff

 8    cases and 24 School District Plaintiff cases will be selected for the initial Bellwether Discovery

 9    Pools. For each Bellwether Discovery Pool, Plaintiff will select 8 cases, Defendant will select 8

10    cases, and the Court will select 8 cases through a random selection process after excluding the 16

11    cases selected by the Parties.

12               Defendants’ Proposal:

13           On March 29, 2024 [or 14 days from the PFS deadline for currently-filed casesafter 105

14    days of entry of the Personal Injury PFS Implementation Order, whichever is later], a total of 34

15    School District Plaintiff cases will be selected for the initial Bellwether Discovery Pool. On May

16    24, 2024 (or 14 Days from receipt of MDL Centrality aggregated PI PFS data for currently-filed

17    cases, whichever is later), a total of 16 Personal Injury Plaintiff cases and 34 School District

18    Plaintiff cases will be selected for the initial Bellwether Discovery Pool(s).

19           For the Personal Injury Bellwether Discovery Pool(s), Plaintiffs will select 4 cases,

20    Defendants will select 4 cases, and the Court will select 8 cases through a random selection

21    process after excluding the 8 cases selected by the Parties.

22           For the School District Bellwether Discovery Pool, Plaintiffs will select 12 cases,

23    Defendants will select 12 cases, and the Court will select 10 cases through a random selection

24    process after excluding the 24 cases selected by the Parties.

25           Lexecon objection:

26               Parties’ Proposal:

27           Any Plaintiff selected for the Bellwether Discovery Pools who wishes to assert a Lexecon

28    objection to their case being tried by the Court must file an objection in writing within ten (10)
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 1    days following selection of the Bellwether Discovery Pools. If no objection is filed by the

 2    deadline, a Plaintiff will be deemed to have waived any rights under Lexecon and to have agreed

 3    to have their case tried by this Court. Likewise, within ten (10) days following bellwether

 4    selection, Defendants must file any Lexecon objection(s) in writing with the Court or be deemed

 5    to have waived any rights.

 6           If an objection is asserted and counsel dispute that the objecting party has a right to assert

 7    an objection under Lexecon, the Parties will immediately present the issue to the Court for

 8    resolution. If the Parties do not dispute the objection or if the Court sustains the Lexecon

 9    objection, then the claim will be deemed removed from the respective Bellwether Discovery Pool.

10    In that event, if the Plaintiff was a pick by one of the two sides, the side that made the pick will

11    have three (3) business days to select a replacement case of the same type as the case in which

12    the objection was served (i.e., personal injury case or school district/governmental entity case); if

13    the Plaintiff was randomly-selected, a randomly-selected replacement will be made of the same

14    type as the case in which the objection was served. Lexecon objections other than those for claims

15    selected for trial in this Court under the bellwether protocol are preserved. Thus, if a claim in the

16    respective Bellwether Discovery Pool is not selected for trial, then the Court will restore the

17    rights of the Plaintiff and Defendants in that claim to object to venue and jurisdiction in the

18    Northern District of California for purposes of trial.

19           Case-Specific Fact Discovery:

20               PI/SD Plaintiffs’ Proposal:

21           Case-specific fact discovery of the Bellwether Discovery Pools may begin immediately

22    upon selection and will conclude on or before January 23, 2025, the date for close of all fact

23    discovery.2 Fact discovery for each discovery pool case will consist of case-specific, non-

24    duplicative written discovery and case-specific depositions. Defendants shall be limited to four

25    (4) fact-witness individual capacity depositions for each Plaintiff case selected. The duration of

26
      2
27     Defendants propose a close of “core” fact discovery on January 23, 2025, with additional “non-
      core” discovery continuing thereafter, while Plaintiffs propose that all fact discovery close on
28    January 23, 2025.
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 1    each deposition shall be in accordance with Fed. R. Civ. P. 30(d), except that for minor witnesses,

 2    Defendants shall be limited to 3 hours of questioning; and for treating providers, Defendants shall

 3    be limited to 5 hours of questioning. For School District Discovery Pool cases, Defendants may

 4    notice up to 10 hours of depositions pursuant to Fed. R. Civ. P. 30(b)(6) in addition to the 4 fact-

 5    witness individual capacity depositions.

 6               Defendants’ Proposal:

 7           Core Discovery: Core discovery of the Personal Injury and School District Bellwether

 8    Discovery Pools may begin immediately upon selection and will conclude on or before January

 9    23, 2025. Core discovery for each discovery pool case may consist of case-specific, non-

10    duplicative written discovery, document discovery, third party discovery and case-specific

11    depositions.

12           For each Personal Injury Plaintiff case in the Bellwether Discovery Pool, Defendants shall

13    initially be limited to up to 6 depositions [or 30 hours of deposition questioning, with one

14    additional minute of questioning for every minute of follow-up questioning by Plaintiffs, if any].

15           For each School District Plaintiff case in the Bellwether Discovery Pool, Defendants shall

16    initially be limited to up to 8 depositions [or 40 hours of deposition questioning, with one

17    additional minute of questioning for every minute of follow-up questioning by Plaintiffs, if any].

18    For each School District Discovery Pool case, Defendants may notice up to 10 hours of

19    depositions pursuant to Fed. R. Civ. P. 30(b)(6) in addition to the fact-witness individual capacity

20    depositions.

21           The duration of each deposition shall be in accordance with Fed. R. Civ. P. 30(d), except

22    that for minor witnesses, Defendants shall be limited (absent a showing of good cause) to 4 hours

23    of questioning in single-Defendant cases (with an additional 1 hour for each additional Defendant

24    in multi-Defendant cases);3 and for treating providers, Defendants shall be limited (absent a

25    showing of good cause) to 5 hours of questioning, in both cases with one additional minute of

26    questioning for every minute of follow-up questioning by Plaintiffs, if any.

27
      3
       Each “Defendant” for purposes of these limitations refers to each Defendant group (i.e., the
28    Meta Defendants, the TikTok Defendants, Snap, and the YouTube Defendants).
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 1            Additional fact and expert party and third-party discovery, including depositions, may be

 2    taken of both PI and SD/GE plaintiffs selected for the Bellwether Trial Pools.

 3            Selection of Bellwether Trial Pools:

 4                PI/SD Plaintiffs’ Proposal:

 5            On January 24, 2025, each side shall simultaneously submit under seal to the Court a letter

 6    not to exceed 12 pages identifying 12 cases from each of the Bellwether Discovery Pools that

 7    they contend are representative bellwether trial cases, the basis for their selections, and if

 8    appropriate, why the other cases are not representative or suitable bellwether trial candidates. The

 9    Court will then select a total of 12 cases, in each pool to be set for initial bellwether trials.

10                Defendants’ Proposal:

11            On February 6, 2025, after the close of “core” discovery of the Personal Injury and School

12    District Bellwether Discovery Pools, each side shall simultaneously submit under seal to the

13    Court a letter identifying 4 cases from the Personal Injury Plaintiff Bellwether Discovery Pool

14    that they contend should be stricken, and 4 cases from the School District Plaintiff Bellwether

15    Discovery Pool that they contend should be stricken. Non-”core” discovery of the Bellwether

16    Trial Pools may begin immediately upon the strikes being exercised. Non-“core” fact discovery

17    will conclude on or before April 10, 2025, and expert discovery will conclude on May 30, 2025.

18    Non-“core” fact discovery for each bellwether trial pool case will consist of case-specific, non-

19    duplicative written discovery, document discovery, third party discovery, and case-specific

20    depositions.

21            Selection of Bellwether Trials:

22                PI/SD Plaintiffs’ Proposal:

23            The sequence of the trials, and determination of whether there may be a multi-plaintiff

24    trial, shall be deferred until the close of expert discovery.

25                Defendants’ Proposal:

26            On June 2, 2025, each side shall simultaneously submit under seal to the Court a letter not

27    to exceed 12 pages identifying 5 cases from the Personal Injury Plaintiff Bellwether Trial Pool

28    and 20 cases from the School District Plaintiff Bellwether Trial Pool that they contend are
                                                                        JOINT STATEMENT RE BELLWETHER
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 1    appropriate bellwether trial cases, the basis for their selections, and if appropriate, why the other

 2    cases are not suitable bellwether trial candidates. The Court will then select a total of 5 Personal

 3    Injury cases and 20 School District cases to be set for initial bellwether trials. The sequence of

 4    the trials, and determination of whether there may be a multi-plaintiff trial, shall be deferred until

 5    a time to be discussed further with all Parties and the Court.

 6           Expert Discovery:

 7               PI/SD Plaintiffs’ Proposal:

 8           Expert discovery for the Bellwether Trial cases may commence immediately upon the

 9    Court’s selection of the final 12 cases in each pool and must be completed by the close of expert

10    discovery on May 30, 2025. Plaintiffs shall serve reports for both general and case-specific

11    experts by February 27, 2025. Defendants shall serve expert reports for both general and case-

12    specific experts by March 27, 2025. Plaintiffs shall serve rebuttal reports for general and case-

13    specific expert reports by April 24, 2024. No expert shall be deposed until all expert reports are

14    exchanged.

15               Defendants’ Proposal:

16           Expert discovery for the Bellwether Discovery Pool cases may commence immediately

17    upon selection of the cases in each pool and must be completed by May 30, 2025 (the Parties’

18    agreed expert discovery cutoff date). Plaintiffs’ expert reports on non-case specific issues shall

19    be due on January 31, 2025; Defendants’ expert reports on non-case specific issues shall be due

20    on February 21, 2025; and rebuttal reports on non-case specific issues shall be due on March 7,

21    2025. Depositions of those experts must be completed by March 28, 2025. Plaintiffs’ expert

22    reports on case-specific issues shall be due on April 4, 2025; Defendants’ expert reports on case-

23    specific issues shall be due on April 25, 2025; and rebuttal reports on case-specific issues shall be

24    due on May 9, 2025. Depositions of those experts must be completed by May 30, 2025.

25           Replacement of Bellwether Cases:

26               PI/SD Plaintiffs’ Proposal:

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 1             If a bellwether case is settled or dismissed prior to trial, the Parties shall meet and confer

 2     to discuss whether the case should be replaced and, if so, how. The Parties should include that

 3     issue on their proposed agenda for a case management conference at the appropriate time.

 4                 Defendants’ Proposal:

 5             For each case that Plaintiffs voluntarily dismiss after the case has joined the bellwether

 6     trial pool, Defendants shall be entitled to replace each dismissed case with another case of

 7     Defendants’ choice. Following three voluntary dismissals and corresponding replacements, for

 8     each case that Plaintiffs voluntarily dismiss after the case has joined the Bellwether Trial Pool,

 9     Defendants shall be entitled to strike one case from the same bellwether pool within ___ days of

10     the entry of voluntary dismissal.

11             Order of Trials:

12                 PI/SD Plaintiffs’ and State Attorneys General Plaintiffs’ Position:

13             The State Attorneys General Plaintiffs4 and PI/SD Plaintiffs disagree as to which group of

14     Plaintiffs should be prioritized for the first bellwether trial at this juncture. Whenever the State

15     Plaintiffs’ case is heard, the State Plaintiffs maintain their request that their case be heard as a

16     single case, rather than being disaggregated.

17                 Meta Defendants’ Position:

18             The Meta Defendants are the only Defendants in the currently-pending AG cases. Meta’s

19     position is that it is premature to determine which case(s) will be prioritized for trial and whether

20     the State Plaintiffs’ case (including the Florida Attorney General case and any other Attorney

21     General cases subsequently transferred to this MDL) will be heard as a single case or

22     disaggregated, and that these issues should be deferred until the close of expert discovery.

23             Trial Schedule:

24

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27       Florida is not a party to the State Plaintiffs’ joint complaint and is not at this time waiving its
       right under Lexecon, Inc. v. Milberg Wiss Bershad Hynes & Lerach, 523 U.S. 26 (1998) to be
28     remanded to Florida Middle District court for trial.
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 1               The Parties attach their respective proposed bellwether case management schedules as

 2     Exhibit A (Plaintiffs’ proposed schedule) and Exhibit B (Defendants’ proposed schedule). The

 3     dates to which all Parties agree are highlighted. The Parties agree to the following dates:

 4               Trial: September 22, 2025

 5               First Bellwether Trial Dispositive and Rule 702 Motions: June 27, 2025

 6               Oppositions to First Bellwether Trial Dispositive and Rule 702 Motions: July 18, 2025

 7               Reply Briefs to First Bellwether Trial Dispositive/Daubert Motions: August 1, 2025

 8               Close of expert discovery: May 30, 2025

 9               While the Parties disagree as to whether there should be a single set of deadlines for all

10     expert reports (both general and case-specific) or two sets of deadlines (one for general and one

11     for case-specific reports), the Parties agree that the sequence of all expert reports will be that

12     Plaintiffs’ expert reports shall be served, then Defendants’ expert reports shall be served, and then

13     rebuttal expert reports shall be served, with expert depositions occurring after all reports are

14     served.

15                                                       Respectfully submitted,
16
       Dated: February 2, 2024                          By: /s/ Lexi J. Hazam
17                                                        LEXI J. HAZAM
                                                          LIEFF CABRASER HEIMANN &
18                                                        BERNSTEIN, LLP
19                                                        275 BATTERY STREET, 29TH FLOOR
                                                          SAN FRANCISCO, CA 94111-3339
20                                                        Telephone: 415-956-1000
                                                          lhazam@lchb.com
21
                                                          PREVIN WARREN
22
                                                          MOTLEY RICE LLC
23                                                        401 9th Street NW Suite 630
                                                          Washington DC 20004
24                                                        T: 202-386-9610
                                                          pwarren@motleyrice.com
25
                                                          Co-Lead Counsel
26
27                                                        CHRISTOPHER A. SEEGER
                                                          SEEGER WEISS, LLP
28                                                        55 CHALLENGER ROAD, 6TH FLOOR
                                                                          JOINT STATEMENT RE BELLWETHER
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 1                                         RIDGEFIELD PARK, NJ 07660
                                           Telephone: 973-639-9100
 2                                         Facsimile: 973-679-8656
 3                                         cseeger@seegerweiss.com

 4                                         Counsel to Co-Lead Counsel

 5
                                           JENNIE LEE ANDERSON
 6                                         ANDRUS ANDERSON, LLP
 7                                         155 MONTGOMERY STREET, SUITE 900
                                           SAN FRANCISCO, CA 94104
 8                                         Telephone: 415-986-1400
                                           jennie@andrusanderson.com
 9
                                           Liaison Counsel
10

11                                         MATTHEW BERGMAN
                                           GLENN DRAPER
12                                         SOCIAL MEDIA VICTIMS LAW CENTER
                                           821 SECOND AVENUE, SUITE 2100
13                                         SEATTLE, WA 98104
                                           Telephone: 206-741-4862
14
                                           matt@socialmediavictims.org
15                                         glenn@socialmediavictims.org

16                                         JAMES J. BILSBORROW
                                           WEITZ & LUXENBERG, PC
17                                         700 BROADWAY
                                           NEW YORK, NY 10003
18
                                           Telephone: 212-558-5500
19                                         Facsimile: 212-344-5461
                                           jbilsborrow@weitzlux.com
20
                                           PAIGE BOLDT
21                                         WATTS GUERRA LLP
                                           4 Dominion Drive, Bldg. 3, Suite 100
22
                                           San Antonio, TX 78257
23                                         T: 210-448-0500
                                           PBoldt@WattsGuerra.com
24
                                           THOMAS P. CARTMELL
25                                         WAGSTAFF & CARTMELL LLP
26                                         4740 Grand Avenue, Suite 300
                                           Kansas City, MO 64112
27                                         T: 816-701 1100
                                           tcartmell@wcllp.com
28
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 1                                         JAYNE CONROY
                                           SIMMONS HANLY CONROY, LLC
 2                                         112 MADISON AVE, 7TH FLOOR
 3                                         NEW YORK, NY 10016
                                           Telephone: 917-882-5522
 4                                         jconroy@simmonsfirm.com
                                           CARRIE GOLDBERG
 5                                         C.A. GOLDBERG, PLLC
                                           16 Court St.
 6                                         Brooklyn, NY 11241
 7                                         T: (646) 666-8908
                                           carrie@cagoldberglaw.com
 8
                                           SIN-TING MARY LIU
 9                                         AYLSTOCK WITKIN KREIS &
                                           OVERHOLTZ, PLLC
10                                         17 EAST MAIN STREET, SUITE 200
11                                         PENSACOLA, FL 32502
                                           Telephone: 510-698-9566
12                                         mliu@awkolaw.com

13                                         ANDRE MURA
                                           GIBBS LAW GROUP, LLP
14
                                           1111 BROADWAY, SUITE 2100
15                                         OAKLAND, CA 94607
                                           Telephone: 510-350-9717
16                                         amm@classlawgroup.com

17                                         EMMIE PAULOS
                                           LEVIN PAPANTONIO RAFFERTY
18
                                           316 SOUTH BAYLEN STREET, SUITE 600
19                                         PENSACOLA, FL 32502
                                           Telephone: 850-435-7107
20                                         epaulos@levinlaw.com
21                                         ROLAND TELLIS
                                           DAVID FERNANDES
22
                                           BARON & BUDD, P.C.
23                                         15910 Ventura Boulevard, Suite 1600
                                           Encino, CA 91436
24                                         Telephone: (818) 839-2333
                                           Facsimile: (818) 986-9698
25                                         rtellis@baronbudd.com
26                                         dfernandes@baronbudd.com

27                                         ALEXANDRA WALSH
                                           WALSH LAW
28                                         1050 Connecticut Ave, NW, Suite 500
                                                           JOINT STATEMENT RE BELLWETHER
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 1                                         Washington D.C. 20036
                                           T: 202-780-3014
 2                                         awalsh@alexwalshlaw.com
 3
                                           MICHAEL M. WEINKOWITZ
 4                                         LEVIN SEDRAN & BERMAN, LLP
                                           510 WALNUT STREET
 5                                         SUITE 500
                                           PHILADELPHIA, PA 19106
 6                                         Telephone: 215-592-1500
 7                                         mweinkowitz@lfsbalw.com

 8                                         DIANDRA “FU” DEBROSSE
                                           ZIMMERMANN
 9                                         DICELLO LEVITT
                                           505 20th St North
10                                         Suite 1500
11                                         Birmingham, Alabama 35203
                                           Telephone: 205.855.5700
12                                         fu@dicellolevitt.com

13                                         HILLARY NAPPI
                                           HACH & ROSE LLP
14
                                           112 Madison Avenue, 10th Floor
15                                         New York, New York 10016
                                           Tel: 212.213.8311
16                                         hnappi@hrsclaw.com

17                                         JAMES MARSH
                                           MARSH LAW FIRM PLLC
18
                                           31 HUDSON YARDS, 11TH FLOOR
19                                         NEW YORK, NY 10001-2170
                                           Telephone: 212-372-3030
20                                         jamesmarsh@marshlaw.com
21                                         Attorneys for Individual Plaintiffs
22

23

24

25

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 1                                         PHILIP J. WEISER
                                           Attorney General
 2                                         State of Colorado
 3
                                           _/s/ Bianca E. Miyata
 4                                         Bianca E. Miyata, CO Reg. No. 42012,
                                           pro hac vice
 5                                         Senior Assistant Attorney General
                                           Lauren M. Dickey, CO Reg. No. 45773
 6                                         First Assistant Attorney General
 7                                         Megan Paris Rundlet, CO Reg. No. 27474
                                           Senior Assistant Solicitor General
 8                                         Elizabeth Orem, CO Reg. No. 58309
                                           Assistant Attorney General
 9                                         Colorado Department of Law
                                           Ralph L. Carr Judicial Center
10                                         Consumer Protection Section
11                                         1300 Broadway, 7th Floor
                                           Denver, CO 80203
12                                         Phone: (720) 508-6651
                                           bianca.miyata@coag.gov
13
                                           Attorneys for Plaintiff State of Colorado, ex rel.
14
                                           Philip J. Weiser, Attorney General
15
                                           ROB BONTA
16                                         Attorney General
                                           State of California
17
                                           _/s/ Megan O’Neill
18
                                           Nick A. Akers (CA SBN 211222)
19                                         Senior Assistant Attorney General
                                           Bernard Eskandari (SBN 244395)
20                                         Supervising Deputy Attorney General
                                           Megan O’Neill (CA SBN 343535)
21                                         Joshua Olszewski-Jubelirer
                                           (CA SBN 336428)
22
                                           Marissa Roy (CA SBN 318773)
23                                         Deputy Attorneys General
                                           California Department of Justice
24                                         Office of the Attorney General
                                           455 Golden Gate Ave., Suite 11000
25                                         San Francisco, CA 94102-7004
26                                         Phone: (415) 510-4400
                                           Fax: (415) 703-5480
27                                         Bernard.Eskandari@doj.ca.gov

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 1                                         Attorneys for Plaintiff the People of the State of
                                           California
 2

 3                                         DANIEL J. CAMERON
                                           Attorney General
 4                                         Commonwealth of Kentucky

 5                                         /s/ J. Christian Lewis
                                           J. Christian Lewis (KY Bar No. 87109),
 6                                         Pro hac vice
 7                                         Philip Heleringer (KY Bar No. 96748),
                                           Pro hac vice
 8                                         Gregory B. Ladd (KY Bar No. 95886),
                                           Pro hac vice
 9                                         Zachary Richards (KY Bar No. 99209),
                                           Pro hac vice
10                                         Assistant Attorneys General
11                                         1024 Capital Center Drive, Suite 200
                                           Frankfort, KY 40601
12                                         CHRISTIAN.LEWIS@KY.GOV
                                           PHILIP.HELERINGER@KY.GOV
13                                         GREG.LADD@KY.GOV
                                           ZACH.RICHARDS@KY.GOV
14
                                           Phone: (502) 696-5300
15                                         Fax: (502) 564-2698

16                                         Attorneys for Plaintiff the Commonwealth of
                                           Kentucky
17

18

19
20

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 1                                         COVINGTON & BURLING LLP
 2                                         By: /s/ Ashley M. Simonsen
 3                                         Ashley M. Simonsen, SBN 275203
                                           COVINGTON & BURLING LLP
 4                                         1999 Avenue of the Stars
                                           Los Angeles, CA 90067
 5                                         Telephone: (424) 332-4800
                                           Facsimile: + 1 (424) 332-4749
 6                                         Email: asimonsen@cov.com
 7
                                           Phyllis A. Jones, pro hac vice
 8                                         Paul W. Schmidt, pro hac vice
                                           COVINGTON & BURLING LLP
 9                                         One City Center
                                           850 Tenth Street, NW
10                                         Washington, DC 20001-4956
11                                         Telephone: + 1 (202) 662-6000
                                           Facsimile: + 1 (202) 662-6291
12                                         Email: pajones@cov.com

13                                         Attorney for Defendants Meta Platforms, Inc.
                                           f/k/a Facebook, Inc.; Facebook Holdings,
14
                                           LLC; Facebook Operations, LLC; Facebook
15                                         Payments, Inc.; Facebook Technologies, LLC;
                                           Instagram, LLC; Siculus, Inc.; and Mark Elliot
16                                         Zuckerberg

17                                         FAEGRE DRINKER LLP
                                           By: /s/ Andrea Roberts Pierson
18                                         Andrea Roberts Pierson, pro hac vice
19                                         Amy Fiterman, pro hac vice
                                           FAEGRE DRINKER LLP
20                                         300 N. Meridian Street, Suite 2500
                                           Indianapolis, IN 46204
21                                         Telephone: + 1 (317) 237-0300
                                           Facsimile: + 1 (317) 237-1000
22                                         Email: andrea.pierson@faegredrinker.com
23                                         Email: amy.fiterman @faegredrinker.com

24                                         GEOFFREY DRAKE, pro hac vice
                                           David Mattern, pro ha vice
25                                         KING & SPALDING LLP
                                           1180 Peachtree Street, NE, Suite 1600
26
                                           Atlanta, GA 30309
27                                         Tel.: 404-572-4600
                                           Email: gdrake@kslaw.com
28                                         Email: dmattern@kslaw.com
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 1
                                           Attorneys for Defendants TikTok Inc. and
 2                                         ByteDance Inc.
 3
                                           MUNGER, TOLLES & OLSEN LLP
 4                                         By: /s/ Jonathan H. Blavin
                                           Jonathan H. Blavin, SBN 230269
 5                                         MUNGER, TOLLES & OLSON LLP
                                           560 Mission Street, 27th Floor
 6                                         San Francisco, CA 94105-3089
                                           Telephone: (415) 512-4000
 7
                                           Facsimile: (415) 512-4077
 8                                         Email: jonathan.blavin@mto.com

 9                                         Rose L. Ehler (SBN 29652)
                                           Victoria A. Degtyareva (SBN 284199)
10                                         Laura M. Lopez, (SBN 313450)
                                           Ariel T. Teshuva (SBN 324238)
11
                                           MUNGER, TOLLES & OLSON LLP
12                                         350 South Grand Avenue, 50th Floor
                                           Los Angeles, CA 90071-3426
13                                         Telephone: (213) 683-9100
                                           Facsimile: (213) 687-3702
14                                         Email: rose.ehler@mto.com
15                                         Email: victoria.degtyareva@mto.com
                                           Email: Ariel.Teshuva@mto.com
16
                                           Lauren A. Bell (pro hac vice forthcoming)
17                                         MUNGER, TOLLES & OLSON LLP
                                           601 Massachusetts Ave., NW St.,
18                                         Suite 500 E
                                           Washington, D.C. 20001-5369
19                                         Telephone: (202) 220-1100
                                           Facsimile: (202) 220-2300
20                                         Email: lauren.bell@mto.com

21                                         Attorneys for Defendant Snap Inc.

22                                         WILSON SONSINI GOODRICH & ROSATI
                                           Professional Corporation
23                                         By: /s/ Brian M. Willen
                                           Brian M. Willen
24                                         WILSON SONSINI GOODRICH & ROSATI
                                           1301 Avenue of the Americas, 40th Floor
25
                                           New York, New York 10019
26                                         Telephone: (212) 999-5800
                                           Facsimile: (212) 999-5899
27                                         Email: bwillen@wsgr.com
28
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 1                                         Lauren Gallo White
                                           Samantha A. Machock
 2                                         WILSON SONSINI GOODRICH & ROSATI
 3                                         One Market Plaza, Spear Tower, Suite 3300
                                           San Francisco, CA 94105
 4                                         Telephone: (415) 947-2000
                                           Facsimile: (415) 947-2099
 5                                         Email: lwhite@wsgr.com
                                           Email: smachock@wsgr.com
 6

 7                                         Christopher Chiou
                                           WILSON SONSINI GOODRICH & ROSATI
 8                                         633 West Fifth Street
                                           Los Angeles, CA 90071-2048
 9                                         Telephone: (323) 210-2900
                                           Facsimile: (866) 974-7329
10                                         Email: cchiou@wsgr.com
11
                                           Attorneys for Defendants YouTube, LLC,
12                                         Google LLC, and Alphabet Inc.

13                                         WILLIAMS & CONNOLLY LLP
                                           By: /s/ Joseph G. Petrosinelli
14
                                           Joseph G. Petrosinelli
15                                         jpetrosinelli@wc.com
                                           Ashley W. Hardin
16                                         ahardin@wc.com
                                           680 Maine Avenue, SW
17                                         Washington, DC 20024
                                           Telephone.: 202-434-5000
18
                                           Fax: 202-434-5029
19
                                           Attorneys for Defendants YouTube, LLC, Google
20                                         LLC, and Alphabet Inc.

21

22

23

24

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 1                                            ATTESTATION

 2
              I, Lexi Hazam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence
 3
       to the filing of this document has been obtained from each signatory hereto.
 4

 5
       Dated: February 2, 2024
 6                                                     By: /s/ Lexi J. Hazam
                                                            LEXI J. HAZAM
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